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12
                      IN THE UNITED STATES DISTRICT COURT
13                        FOR THE DISTRICT OF ARIZONA
14
      C.M., on her own behalf and on behalf of her        No. 2:19-CV-05217-PHX-SRB
15    minor child, B.M.; L.G., on her own behalf and
      on behalf of her minor child, B.G.; M.R., on her    STIPULATED MOTION TO
16
      own behalf and on behalf of her minor child,        HOLD ACTION IN
17    J.R.; O.A., on her own behalf and on behalf of      ABEYANCE
      her minor child, L.A.; and V.C., on her own
18    behalf and on behalf of her minor child, G.A.,
19
                          Plaintiffs,
20
      v.
21
      United States of America,
22
                          Defendant.
23
24
      A.P.F. on his own behalf and on behalf of his       No. 2:20-CV-00065-PHX-SRB
25    minor child, O.B.; J.V.S. on his own behalf and
      on behalf of his minor child, H.Y.; J.D.G. on his
26
      own behalf and on behalf of his minor child,
27    M.G.; H.P.M. on his own behalf and on behalf of
      his minor child, A.D.; M.C.L. on his own behalf
28
      Case 2:19-cv-05217-SRB Document 101 Filed 04/19/21 Page 2 of 6



 1    and on behalf of his minor child, A.J.; and R.Z.G.
 2    on his own behalf and on behalf of his minor
      child, B.P.,
 3
                            Plaintiffs,
 4
      v.
 5
 6    United States of America,

 7                          Defendant.

 8
            The parties jointly move the Court for an order holding this action in abeyance
 9
     for a period of fourteen (14) days while the parties explore settlement. In support of
10
     this motion, the parties respectfully state the following:
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            The parties have engaged in initial discussions relating to the potential
12
     settlement of the above-captioned actions. In order to more fully focus their attention
13
     on these settlement efforts, the parties request that this action, including all
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     proceedings and case deadlines, be held in abeyance.
15
            Specifically, the parties have agreed to and seek an order from the Court
16
     holding this action in abeyance for a period of fourteen (14) days, during which the
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     parties agree to meet and continue the settlement discussions.
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            At the close of this 14-day abeyance period, the parties may, depending on the
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     progress of the settlement discussions, seek an additional abeyance from the Court to
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     facilitate further settlement discussions. If an additional abeyance is not sought, the
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     parties request that any existing deadlines be reset for fourteen (14) days from the
22
     current deadlines.
23
            Counsel for Plaintiffs and the United States have conferred regarding this
24
     request and agreed to jointly move the Court to hold this action in abeyance. The
25
     party submitting this motion has obtained the permission of all signatories hereto. A
26
     proposed Order is submitted herewith.
27
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                                                    2
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 1   Respectfully submitted this 19th day of April, 2021.
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      Case 2:19-cv-05217-SRB Document 101 Filed 04/19/21 Page 6 of 6



 1                                CERTIFICATE OF SERVICE
 2
            I hereby certify that on April 19, 2021, I electronically transmitted the attached
 3
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of
 4
     a Notice of Electronic Filing to all CM/ECF registrants.
 5
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